                                   Case 2:24-cr-00074-NJB-KWR Document 1-1 Filed 04/01/24 Page 1 of 1

                                                                                                                                                PER 18 U.S.C. 3170
                                        DEFENDANT TNFORMATTON REI-ATUE TO A CRIMTNAL ACTTON - rN U.S. DtSTmT                              C,URL t? A
BY:           E TNFoRMAToN f] TNDTcTMENT                                                   CASE NO.

Matter Sealed:                !      .luvenite El otner tnan Juvenile                             USA vs.                        SEOI. U ]t|AG./+
I           Pre.lndictment Plea         I    supersedins E Defendant Added                                  PRIVE OVERSEAS MARINE, LLC // PRIVE SHIPPING DENIZCILIK
                                                                                            Defendant: rlcAREr,A.s.
                                            E lndictment I Chargevcounts Added
                                            I     lnformation
Name of District Court, and/or Judge/Magistrate Location (City)                             Address:

UNITED STATES DISTRICT                          couRT EASTERN
DISTRICT OF tOUtSnrue                                       Divisional Office

                                                 Ashley Guidry
Name and Office of Person
                                                  Eu.s. nt y notn", U.s. Agency
Fumishing lnformation on
THIS FORM
    Name of Asst.
                                                  phone No. (5M)680-3000                     tr       lnterpreter Required Dialect:

    U.S. Attomey                  G. DallKammer
(if assigned)                                                                                 Birth                                   El tv'tate         I    Rtien

                                            PROCEEDING
                                                                                              Date                                    E Female           (if applicable)

    Name of Complainant Agency, or Person (& Title, if any)
                                                                                                                               xxx-xx-
    CGIS, SA Jose Santiago                                                                    Social Security Number

        I-l    person is awaiting trial in another Federal or State Court
        -      lgive name of court)                                                                                          DEFENDANT



                this persorVproceeding transfened from another district
                                                                                            lssue         I w"rr"nt A summons
                per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                           Location Status:
                                                                                            Arrest Date                or Date Transferred to Federal   Custody_
        tr this    reprosecution of charges
                       is a
           previously dismissed       lrcre     wtrich                                        E Cunently in Federal Custody
                dismissed on motion of:

                 E u.s. Atty EI Defense
                                                                                              ! Cunently in State Custody
                                                                          sHow                     E writ Required
        !      tni" prosecution relates to a
               pending case involving this same
                                                                      DOCKET NO.
                                                                                              E] cunently on bond
               defendant. (Notice of Related
               Case must still be filed with the
                                                                                              tr Fugitive
               Clerk.)
     tr        prior proceedings or appearance(s)
               before U.S. Magistrate Judge
                                                                        MAG. JUDGE
                                                                         CASE NO.
                                                                                           Defense counsel (if any): John Kinchen

               regarding this defendant were
               recorded under                                                                     ! reo I crn I Rero
                                                                                                        I   Appointed on Target Letter
Place of
offense
                      EDLA and        elsewhere county
                                                                                            tr        This report amends AO 257 previously submitted

              OFFENSE CHARGED . U.S.C. CITATION - STATUTORY MAXMUM PENALTIES . ADDITIONAL INFORMATION OR COMMENTS

    Total # of Counts-                                   (for this defendant only)

    0l[6e                           Title & Section/'                                                 Description of Offense Charged                         Count(s)
    Ldd (l , 3, ,r)               (Pettv = 1 / Misdemeanor = 3 / Felonv = 4)

4                     18 U.S.C. S 371                                                Conspiracy                                                               1


4                     33 U.S.C. $ 1908(a), 18 U.S.C. S 2                             Act to Prevent Pollution from Ships                                      2

    4                 18 U.S.C. SS 1505 & 2                                          Obstruction of Justice                                                   3

    4                 18 U.S.C. SS 1519 & 2                                          Obstruction of Justice                                                   4
